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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

UNITED STATES OF AMERICA

vs.                                                           CASE NO. 3:17-mj-1258-MCR

MIGUEL PACHECHO-LOPEZ
                                         /

                                                              Defense Atty.: WAFFA HANANIA
                                                                 AUSA: ARNOLD CORSMEIER

 JUDGE:               Monte C. Richardson     DATE AND TIME                       July 19, 2017
                      U.S. Magistrate Judge                                 3:06 PM – 3:12 PM
                                                                                   6 MINUTES
 DEPUTY CLERK:        Sharon Spaulding        TAPE/REPORTER             Digital

 INTERPRETER          Herminia Tomasa         PRETRIAL/PROBATION        KIMBERLY BARRETT
                      Ajpacaja


                                 CLERK’S MINUTES

PROCEEDINGS:        Detention Hearing

Interpreter placed under oath.

Defense counsel advised of Defendant's desire to waive his detention and preliminary
hearings.

The Court questioned Defendant regarding the waiver of hearings, and found that he
did so knowingly and voluntarily. WAIVER OF PRELIMINARY FILED IN OPEN
COURT.

Defendant ordered detained - ORDER TO ENTER.
